      Case: 1:17-cv-01765 Document #: 25 Filed: 02/05/19 Page 1 of 1 PageID #:63




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 CHRISTOPHER DAVID DRAKE,

 Plaintiff,                                              Case No. 1:17-cv-01765 Honorable

 v.                                                      Judge Edmond E. Chang

 CONTINENTAL FINANCE
 COMPANY,LLC,

 Defendant.

                   RELEASE AND SATISIFICATION OF JUDGMENT

         WHEREAS, a judgment was entered in the above action on the 24th Day of May, 2017,

in favor of Christopher David Drake and against Continental Finance Company, LLC in the

amount of $24,647.50      plus attorney fees and costs and said judgment attorney fees and costs

having been fully paid.

        THEREFORE, full and complete satisfaction of said judgment is hereby acknowledged,

and the Clerk of the District Court for the Northern District of Illinois is hereby authorized and

directed to make an entry of the full and complete satisfaction on the docket of said judgment


Dated: February 5, 2019                      Respectfully Submitted,


                                                    /s/ Nathan C. Volheim
                                                    Nathan C. Volheim
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